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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

CREATIVE IMPACT INC.;

CREATIVE IMPACT (HONG KONG) LIMITED;

ZURU LLC; and

ZURU INC.,

Plaintiffs,

Vv.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON

SCHEDULE A HERETO,

Defendants.

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EASTERN DIVISION

Case No.: 19-cv-3077

Judge Charles R. Norgle

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

138
149
165
182
195
199
206
213
217
236

Defendant

Cestamour
Chevalier
Confetti
Daofeng
Dimimax
Djohnson768
Dreamergo
EagleDeal
Easylifeforeyou
fashion group
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The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.

Respectfully submitted,

Dated: July 23, 2019 By: — s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
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Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 23, 2019.

s/Michael A. Hierl
